                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                   NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                     )
                                              )
          v.                                  )                       ORDER
                                              )
 LEONID ISAAKOVICH TEYF                       )



       Upon motion of the Defendant, for good cause shown, it is hereby ORDERED that

Defendant’s Proposed Sealed Response (D.E. 481) filed on 19 February 2020 be sealed until

further order of the Court.

       It is further ORDERED that the Clerk of Court provide a filed copy of the sealed filing to

counsel for the Government and Defendant.

       SO ORDERED.

       This the 20th
                ___ day of February, 2020.




                                             Louise W. Flanagan
                                             United States District Judge




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